
663 S.E.2d 431 (2008)
STATE of North Carolina
v.
Randy G. JERNIGAN.
No. 202P08.
Supreme Court of North Carolina.
June 11, 2008.
Randy G. Jernigan, Pro Se.
LaToya B. Powell, Assistant Attorney General, Ben David, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 29th day of April 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*432 "Denied by order of the Court in conference, this the 11th day of June 2008."
